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                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF ILLINOIS

In Re:                                          ) IN CHAPTER 7 PROCEEDINGS
                                                )
CLAYTON S. ROBIEN                               ) BK 21-30714
                                                )
         Debtors.                               )

  APPLICATION BY TRUSTEE TO HIRE SELF AS ATTORNEY FOR THE ESTATE

         The Application of Donald M. Samson, trustee, respectfully alleges:
         1. That he is the duly qualified and acting trustee in this case.
         2. Applicant requires the assistance of counsel for the following purposes:
              a. To prepare a Motion to Compel Turnover for the non-exempt funds in debtor’s
bank account, comic books and action figure collection.
              b. Any other matters that may arise requiring legal work.

         3. It is in the best interest of this estate and its economical administration that your
applicant be authorized to act as attorney for the estate.
         4. The Court has the power to authorize said employment pursuant to 11 U.S.C. Sect.
327(d) which reads:

                “The court may authorize the trustee to act as attorney or
                accountant for the estate is such authorization is in the best interest
                of the estate.”

         5. There is cause to permit the trustee to employ himself as attorney and such
employment is in the best interest of the estate because such employment will result in
substantial cost savings, expedited administration and is warranted due to the trustee’s law firm’s
existing administrative involvement.
         6. Applicant is an attorney at law duly admitted to practice before this Court and other
necessary state and federal courts in this jurisdiction and has a particular expertise with regard to
bankruptcy, corporate reorganization and debtor/creditor matters in cases under the Bankruptcy
Code.
         7. The normal hourly billing rate of applicant’s law practice at the time of this
application is $275.00 per hour. It is contemplated that the attorney will seek compensation
based upon normal and usual hourly billing rates as adjusted from time to time. It is further
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contemplated that said attorney will seek interim compensation as permitted by 11 U.S.C. Sect.
331. Applicant is informed and believes that the hourly rate of applicant’s law practice is
reasonable in light of the current hourly rates charged by other attorneys in the Southern Illinois
area.
        WHEREFORE, applicant prays that applicant and his law practice be authorized to act as
attorney for the estate with compensation for such legal services to be paid as an administrative
expense in such amounts as this Court may hereafter determine and allow upon application or
applications to be filed by said attorney.

DATE: 05/25/22



                                                      /s/ Donald M. Samson
                                                      DONALD M. SAMSON, Trustee
                                                      226 W. Main St., Ste., 102
                                                      Belleville, IL 62220
                                                      618-235-2226
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                 DECLARATION OF DONALD M. SAMSON, ATTORNEY

       I, DONALD M. SAMSON, declare:

       1. I am a solo practitioner with offices located at 226 West Main Street, Ste. 102,
Belleville, Illinois, and am the trustee in this case.

       2. Applicant is an attorney at law fully admitted to practice before this Court and other
necessary state and federal courts in this jurisdiction.

        3. To the best of my knowledge, information and belief I am a disinterested person
within the meaning of 11 U.S.C. Sect. 101 and am eligible to serve as counsel for the estate and
the trustee pursuant to the provisions of 11 U.S.C. Sect. 327(d).

       4. I do not hold a prepetition or other claim against the estate.

        5. To the best of my knowledge, I have no connection with the debtor, creditors, or other
party in interest, their respective attorneys and accountants, the United States Trustee for Region
10, or any person employed in the Office of the United States Trustee other than the applicant is
on the panel of Chapter 7 trustees for the Southern District of Illinois. I have not in the past, and
I do not plan in the future, to represent any related debtor or principals.

        6. I have not received a retainer from the debtor, the estate, a principal of the debtor or a
third party.

       7. I do not have any interests adverse to the trustee, the estate or the debtor.

       I declare under penalty of perjury that the foregoing is true and correct.


       EXECUTED this 25th day of May, 2022, at Belleville, Illinois.


                                                       /s/ Donald M. Samson
                                                       DONALD M. SAMSON
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                               CERTIFICATE OF SERVICE

       The undersigned certifies that on the 25th day of May, 2022, a copy of the foregoing
document, Application by Trustee to Hire Self as Attorney for the Estate, was served upon the
following either electronically or by first class mail, postage prepaid:

Michael Benson
Attorney at Law
801 Lincoln Highway, Ste. B
Fairview Heights, IL 62208

U. S Trustee
Becker Bldg., Rm. 1100
401 Main St.
Peoria, IL 61602


                                                   /s/ Andrew Bushnell-Chamness
